                Case 1:18-cv-00021-JMS-WRP Document 1-2 Filed Do
                                                              01/12/18            Page 1 of 2
                                                                 Not Write in this Space
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     •396015                                      STATE OF HAWAII-DEPARTMENT Of PUBLIC SAFETY                                                          Date Received:                         t::XHi6i-r A
                                                                 ADMINISTRATIVE REMEDYEORM                                                             Date Logged:
                                                                                                                                                       Date Returned:
     (This Control No. Must
                                                                                                                                                       Response Due:
     Accompany All Appeals)                                                                                                                                             Wi
     NAME                              - Tonr4 DA%>to=K;Q                                                    SID:


     HOUSING                            \ fKA 4*^ 12-                                                        CONTROL NO: Step 1.
                          Facility         Module/Unit/Block/Cell                                                        Step 2

     TO:(Step)                    Section supervisor/Inmate Grievance Specialist
                                  Appeal Branch/Core Program Administrator/Inmate Grievance Specialist
                                  Appeal Institutions/Core Program Division Administrator/Inmate Grievance Specialist

     I attempted to solve this problem through informal discussion with:
     Resolution could not be obtained because:

     Subject cannot be resolved informally because:
     Attachments included:(Lower Step 1; Step 2; Misconduct & Hearing(DOC-82IOA); Misconduct Report(DOC-82IO)_

     STATEMENT OF COMPLAINT/GRIEV^CE; Or\                                                           , ryWch                    / "Wr..
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      RESOLUTION SOUGHT:                                                                                                               '
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               ; SIGNATURE                                                                                       DATE


      RESOLUTION: (Do Not Write In This Space. OFFICIAL USE ONLY)


      SEE ATTACHED..




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                                       r-^Y-. .*Q-> t>                                       Rasldeucy- Administrator
      SfGNAfDREW^P0NDENT>                                                                                    TITLE                                              /DATET
        Dovie Borgas
      Appeals must be filed within five (S) calendar days upon receipt. Signed & dated ROAs must be returned. Step 3 responses are final..
                                                                           .,                                                                      ,                    V
      INMATE ACKNOWLEDGED RESPONSE                                                            ^ DATE                                               '                        ^'
      WHITE/File         CANARY/Inmate Answer,                   PINK/Respondent                    GOLD/Inmate Receipt                                PSD 8215 (rev. 10/2015)
Case 1:18-cv-00021-JMS-WRP EXMiGir
                           Document 1-2A-i
                                        Filed 01/12/18 Page 2 of 2                               PageID #: 21




  DAGIRBAUD,Quintin
  A0265488
  Step 1 Grievance Response
  3/29/17
  Tracking number: 396015

  RESPONSE:


  Mr. Dagirbaud,

  Your assault allegation is being investigated by HCF security. The inmate in question was moved out of
  the quad and into another block. You are housed in general population along with minimum, medium,
  close and max custody inmates. We are here to keep everyone safe and secure.

  Close custody inmates are allowed to mix with other general population inmates. Their only restriction is
  that they cannot be out of their housing unit after approximately 1800 hours without prior authorization
  from the Warden. Your perception of Close custody inmates is very presumptive.

  If any issues arise, you have direct access to the ACO staff, sergeant, case manager, and unit manager in
  the module. Continue to use your resources and be safe in here while you stay misconduct free and do
  your workline duties diligently.

  Your grievance is denied.

  if you are dissatisfied with this decision, commencing with the date of receipt, you will have five (5)
  calendar days to file an appeal.



  /s/ Morreira
